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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                             Case Number 07-20222
                                                              Honorable David M. Lawson
v.

RODOLFO MORENO,

                  Defendant.
_________________________________________/

       ORDER DENYING DEFENDANT’S MOTION TO CORRECT JUDGMENT

       This matter is before the Court on the defendant’s motion to correct the judgment entered

against him pursuant to Federal Rule of Criminal Procedure 36 because he contends that he received

credit for time served while awaiting sentencing in this case.

       Federal Rule of Criminal Procedure 36 provides: “After giving any notice it considers

appropriate, the court may at any time correct a clerical error in a judgment, order, or other part of

the record, or correct an error in the record arising from oversight or omission.” Fed. R. Crim. P.

36. A clerical error “must not be one of judgment or even of misidentification, but merely of

recitation, of the sort that a clerk or amanuensis might commit, mechanical in nature.” United States

v. Robinson, 368 F.3d 653, 656 (6th Cir. 2004) (internal quotations omitted). Federal Rule of

Criminal Procedure 36 “is not a vehicle for the vindication of the court’s unexpressed sentencing

expectations, or for the correction of errors made by the court itself.” United States v. Coleman, 229

F.3d 1154, 2000 WL 11824600, at *2 (6th Cir. Aug. 15, 2000) (unpublished) (internal quotations

omitted). Although Federal Rule of Criminal Procedure 36 authorizes a court to amend a judgment

to conform with its expresses sentencing intention, United States v. Carr, 421 F.3d 425, 433 (6th

Cir. 2005); United States v. Libby, 79 F.3d 1149, 1996 WL 117499, at *2 (6th Cir. 1996)
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(unpublished) (amending sentence to conform with what had been discussed at the hearing on the

defendant’s supervised-release violation), it does not authorize “‘the amendment of a sentencing

order to conform with an unexpressed sentencing intention.’” Carr, 421 F.3d at 433 (quoting

Robinson, 368 F.3d at 657 (emphasis in original)).

        The defendant was indicted on May 4, 2007 while serving a two-year state sentence. The

defendant contends that on June 19, 2007, he was transferred from the Michigan Department of

Corrections into the custody of the U.S. Marshal. On June 21, 2007, the defendant was ordered

detained on the instant charge. The defendant pleaded guilty, and on February 4, 2008, he was

sentenced to 144 months imprisonment. The issue of credit for time served was not addressed

during the sentencing hearing. The defendant argues that pursuant to his plea agreement, the

government agreed to not oppose the Court’s recommendation to the U.S. Bureau of Prisons that the

defendant be given credit for the time served from May 5, 2007 to February 4, 2008. The plea

agreement, however, does not mention whether the government would oppose a recommendation

that the defendant be given credit for time served. The defendant also argues that the absence of a

reference in the judgment concerning whether the defendant was to receive credit for time served

constitutes a clerical error pursuant to Federal Rule of Criminal Procedure 36. Assuming, arguendo,

that the Court actually intended to recommend that the defendant receive credit for time served

despite the lack of any indication of such an intent, the defendant’s request is an attempt to conform

the judgment with an unexpressed sentencing intention — exactly the type of error that the Sixth

Circuit has held is not correctable under Federal Rule of Criminal Procedure 36. Carr, 421 F.3d at

433. Therefore, the defendant’s motion to correct the judgment will be denied.




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      Accordingly, it is ORDERED that the defendant’s motion to correct judgment [dkt. #248]

is DENIED.

                                                    s/David M. Lawson
                                                    DAVID M. LAWSON
                                                    United States District Judge

Dated: October 28, 2011


                                              PROOF OF SERVICE

                      The undersigned certifies that a copy of the foregoing order was served
                      upon each attorney or party of record herein by electronic means or first
                      class U.S. mail on October 28, 2011.

                                                        s/Deborah R. Tofil
                                                        DEBORAH R. TOFIL




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